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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         Case No. 05-20859-CR-HUCK/O’SULLIVAN


  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  RAUL J. GUTIERREZ,

       Defendant.
  ________________________________/

                                           ORDER

          THIS MATTER comes before the Court on the United States’ Motion Requesting

  that the Magistrate Court Withdraw its Order of July 2[0], 2010 and Submit a Report

  and Recommendation to the District Court Pursuant to 28 U.S.C. § 636(b)(1)(A) and

  S.D. Fla. Mag. R. 1(d) (DE# 753, 7/23/10). Having revised the applicable filings and the

  law, it is

          ORDERED AND ADJUDGED that the United States’ Motion Requesting that the

  Magistrate Court Withdraw its Order of July 2[0], 2010 and Submit a Report and

  Recommendation to the District Court Pursuant to 28 U.S.C. § 636(b)(1)(A) and S.D.

  Fla. Mag. R. 1(d) (DE# 753, 7/23/10) is DENIED for the reasons stated herein.

          On July 20, 2010, the undersigned held a hearing on, inter alia, the United

  States’s Motion to Strike Petition of Maritime Life (Caribbean) Ltd. for Lack of Standing

  (DE# 735, 5/21/10). After hearing from the parties and determining that discovery was

  needed to rule on the standing issue, the undersigned denied the government’s motion

  to strike without prejudice to renew and allowed the parties to conduct discovery until
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  November 17, 2010 with respect to the petitioner’s standing. See Order (DE# 751,

  7/20/10).

         The government now moves for the undersigned to withdraw the July 20, 2010

  Order (DE# 751) and issue a report and recommendation on the ground that a United

  States Magistrate Judge must issue a report and recommendation when addressing a

  motion to dismiss. See United States’ Motion Requesting that the Magistrate Court

  Withdraw its Order of July 2[0], 2010 and Submit a Report and Recommendation to the

  District Court Pursuant to 28 U.S.C. § 636(b)(1)(A) and S.D. Fla. Mag. R. 1(d) (DE# 753

  at 3-4, 7/23/10). The government relies on Title 28 United States Code § 636 and Local

  Magistrate Rule 1(d). Section 636(b)(1) states in pertinent part that:

         Notwithstanding any provision of law to the contrary--

                (A) a judge may designate a magistrate judge to hear and
                determine any pretrial matter pending before the court,
                except a motion for injunctive relief, for judgment on the
                pleadings, for summary judgment, to dismiss or quash an
                indictment or information made by the defendant, to
                suppress evidence in a criminal case, to dismiss or to permit
                maintenance of a class action, to dismiss for failure to
                state a claim upon which relief can be granted, and to
                involuntarily dismiss an action. A judge of the court may
                reconsider any pretrial matter under this subparagraph (A)
                where it has been shown that the magistrate judge's order is
                clearly erroneous or contrary to law.

                (B) a judge may also designate a magistrate judge to
                conduct hearings, including evidentiary hearings, and to
                submit to a judge of the court proposed findings of fact and
                recommendations for the disposition, by a judge of the court,
                of any motion excepted in subparagraph (A), of applications
                for posttrial relief made by individuals convicted of criminal
                offenses and of prisoner petitions challenging conditions of
                confinement.

                (C) the magistrate judge shall file his proposed findings and

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                recommendations under subparagraph (B) with the court....

  28 U.S.C. § 636(b)(1)(A) - (C) (emphasis added).

         Local Magistrate Rule 1(d) states as follows:

         (1) A Magistrate Judge may submit to a District Judge of the Court a
         report containing proposed findings of fact and recommendations for
         disposition by the District Judge of the following pretrial motions in civil
         and criminal cases:

                (A) Motions for injunctive relief, including temporary
                restraining orders and preliminary and permanent
                injunctions;

                (B) Motions for judgment on the pleadings;

                (C) Motions for summary judgment;

                (D) Motions to dismiss or permit the maintenance of a class
                action;

                (E) Motions to dismiss for failure to state a claim upon
                which relief may be granted;

                (F) Motions to involuntarily dismiss an action;

                (G) Motions for review of default judgments;

                (H) Motions to dismiss or quash an indictment or information
                made by a defendant; and

                (I) Motions to suppress evidence in a criminal case.

         (2) A Magistrate Judge may determine any preliminary matters and
         conduct any necessary evidentiary hearing or other proceeding arising in
         the exercise of the authority conferred by this subsection.

  Local Magistrate Rule 1(d) (emphasis added).

         The undersigned notes that the authorities cited by government refer, inter alia,

  to motions to dismiss. The government’s motion was titled a “Motion to Strike” and did

  not seek dismissal of the petitioner’s claim but sought to strike the petition. See United

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  States’s Motion to Strike Petition of Maritime Life (Caribbean) Ltd. For Lack of Standing

  (DE# 735, 5/21/10). The government acknowledges that its Motion to Strike was not

  titled a motion to dismiss but argues that it must be treated as such. See United States’

  Motion Requesting that the Magistrate Court Withdraw its Order of July 2[0], 2010 and

  Submit a Report and Recommendation to the District Court Pursuant to 28 U.S.C. §

  636(b)(1)(A) and S.D. Fla. Mag. R. 1(d) (DE# 753 at 3, 7/23/10). “While termed a

  motion to strike, the United States’ motion is seeking to dismiss the petition because it

  fails to state a claim upon which relief can be granted. In effect, it seeks to dismiss the

  petition because it fails to allege standing and therefore the [C]ourt cannot grant relief.”

  Id. The undersigned’s July 20, 2010 Order (DE# 751) was not dispositive but allowed

  for discovery prior to a final ruling on the standing issue. In fact, the July 20, 2010 Order

  (DE# 751) specifically requires that the petitioner file a memorandum of law on the

  issue of standing. Thus, the Order (DE# 751) did not resolved the standing issue.

  Accordingly, the relief sought by the government is denied.

         DONE AND ORDERED, in Chambers, at Miami, Florida, this 23rd day of

  July, 2010.




                                             JOHN J. O’SULLIVAN
                                             UNITED STATES MAGISTRATE JUDGE


  Copies furnished to:
  United States District Judge Huck
  All Counsel of Record




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